 

 

 

Case 2:14-cV-00019-SPC-CI\/| Document 2 Filed 01/15/14 Page 1 of 7 Paqe|D 17

..... by._. ¢._.. _’_.__ »______._.___.,_ _. __ _- _._

`24360/va/MR
IN 'I`HE SMALL CLAIMS COURT OF .THE TWENTIETH IUDICIAL ClRCUlT
IN AND FOR COLLIER COUNTY, FLOR!DA ~
ClVlL ACT!ON

MchAEL sPElDEL, ' cAsE No.;

 

Plaintiff,

`VS.

AMERchN HONDA FINANCE
coRP., d/b/a HONDA FrNANclAL
.sERvIcEs, .

Defendant.
/

COMI’LAINT FOR UNLAWFUL AND ABUSIVE DEB'I` COLLECT!ONPRACTICES
COMES NOW, the Plaintiff, MlCHAEL SPElDEI.., hereinatier “Plaintift” or
“consumer,” sues the Defendant, AMERICAN HONDA F[NANC§ CORP., d/b/a HONDA
FfNANClAL SERVlCES, (hereinatier “Defendant”), for violation of Florida’s Consumer
Collection Practices Act, §559.55 Fla. Stat. el seq., the “FCCPA,” for damages that are not less
than $2,501.00 and do not exceed $5,000.00, exclusive of attomey’s:fees and costs, and alleges
as follows:
I_ngad_uc_@a
l._ The FCCPA protects Florida citizens from abusive, threatening, harassing and false or _
fraudulent calls by or on behalf of creditors. The FCCPA provides for actual and
statutory damages, plus attorney’s fees and costs of the action. The Defendant’s
misconduct, as alleged and to be proven herein, violates the FC_CPA in multiple respects
The frequency of the calls, exceeding several calls per day, and the calls’ content,
evidence a willful intent to harass, intimidate, break down and degrade the consumer in

clear violation of the letter and intent of the FCCPA. The Deféndant seeks or threatens to

 

 

Case 2:14-cV-00019-_SPC-CI\/| Docur_n_ent 2 Filed 01/15_/14 Page 2 of 7 Page|D 18,_.`____,

 

lO.

ll.

collect debts which are not owed and/or assert rights to which the Defendant does not
have, and reports, or threatens to report alleged debts without also reporting that they are
disputed.

Jurisdiction and Venue

 

The Plaintiff resides in' Collier County and the unlawhll and;tortuous communications
occurred in this county and caused injury to Plaintiff in this county.

The Defendant is subject to in personam jurisdiction here because the Defendant’s
unlawful, statutory violations were specifically directed at Plaintiff in this county and
caused harm to Plaintiff in this county.

The damages, exclusive of attorneys’ fees, prejudgment interest, and costs, are within the
jurisdictional limits of this Court.

Plaintiff is a consumer.

The Plaintiff became delinquent in making payments under the contract for specific

I'BaSOnS.

. The Defendant, in response to the Plaintifi`s situation, undertook collection activities

against the Plaintiff.
The Defendant, in an effort to collect the alleged debt owed by the P|aintiff`, undertook an
unlawful course of conduct that constituted violations of the FCCPA.

COUNT I
Violation of FCCPA

This is a cause of action against Defendant for its violation of the FCCPA.
P|aintiff restates (l) through (8) above, as if fully set forth herein.
At all times material hereto, Plaintiff was a “debtor” or "consi)mer" within the meaning

of §559.55(2) Fla. Stat.

 

Case 2:14-cy_-Qt?019-SP~C-C|\/| [_)o_curjnent Filed 01/1_

 

 

l2.

l3.

l4.

l5.

16.

l7.

At all times material hereto, the communications and other misconduct alleged herein
arose out of a “debt" or “consumer debt” within the meaning of §559.55(\) Fla. Stat.

At all times material hereto, the Defendant was a “person" within the meaning of
§559.55(7) F|a. Stat.

The Defendant willfully violated provisions of the FCCPA including but not limited to
the following:

(a) The Defendant’s attempt to collect the debt was as assertion of the existence of a legal
right when the Defendant knew that right did not exist in violation of Fla. Stat. §
559.72(9).

(b) 'I`he Defendant’s conduct constituted harassment as defined pursuant to § 559.72(7),
because it was reasonably intended to willfully harass or abuse:the Plaintifl`.

As a legal and proximate cause of the aforesaid misconduct and violations, Plaintiff has
suffered actual damages and is entitled to statutory damages.

Plaintiff was forced to retain undersigned counsel and has or will incur attorney's fees,
legal assistant fees and oosts. Counsel has been retained on a contingency basis, and
Plaintiff seeks a contingency risk multiplier.

Plaintiff is entitled to an award of attomeys’ fees, legal assistant fees and costs of this

action, pursuant to the provisions of the FCCPA.

WHEREFORE, P\aintiff, MICHAEL SPEIDEL,, demands actual and statutory damages,

attomey’s fees, legal assistant fees, costs and prejudgment interest o,n all damages where such

\ .

interest is allowable by law and such other and further relief as may be mete and proper.

COUNT II
Iniunctive Relief

_____________ 5/14 Page 3 of 7 Page|D 19 .

 

 

_ Case 2: 14- C-\/- OO_O}_Q_-S__F:C-_ C_I\_/|_ __Dc_)cument 2_ Fi| ed 01115/14 Page 4 of-7 PagelD 2-0_--__

lB.'I`his is a cause of action for injunctive relief against Defendant to enjoin its further
violations of the FCCPA. 1

l9. Plaintiff restates (l) through (l 7) as if fully set forth herein.

20. The Defendant’s continued violation of the FCCPA against the Plaintiff and other Florida
citizens is repugnant to the public welfare and offends the long-standing public policy of
this State to protect innocent consumers from predatory, abusive and fraudulent
collection practices.

21 . Plaintiff has no adequate remedy at law.

22.The Defendant has or will continue the aforesaid unlawful conduct now and into the
future unless equitably enjoined from continuing to violate thesi-`CCPA.

23. The FCCPA empowers and confers upon this Court the necessary and statutory
jurisdiction and authority to “enjoin" “further violations ofthis Part."

24. Plaintiff hereby invokes the Court’s statutory and/or equitable jurisdiction under the
FCCPA to enjoin further violations of this part, more specifically:

a. The immediate and permanent cessation of any and all unlawful attempted
communication or contact.

25.Plaintiff was forced to retain undersigned counsel and has or will incur substantial
attomey’ s fees, legal assistant fees and costs.

26. Plaintifi", as a prevailing party, is entitled to an award of attorney’ s fees, legal assistant
fees and costs of this action, pursuant to the provisions of the FCCPA, and contingent
risk multiplier.

WHEREFORE, Plaintiff, MICHAEL SPEIDEL, prays for injunctive relief, attomey’s~

fees, legal assistant fees, costs, prejudgment interest on all damages where such interest is

 

 

Case_2:14-cV-00019-SPC-CI\/| Document 2 Filed 01/_1_5_/14 Page 5 of 7 Page|D 21

allowable by law and such other and further relief as may be mete and proper.

COUNT III
Declaratog Relief

27. This is a cause of action for declaratory relief against Defendant to declare certain of its
offending practices to be unlawful and in violation of the FCCPA.

28. Plaintiff restates (l) through (16) as if fully set forth herein.

29. The Defendant’s continued violation of the FCCPA against Plaintiff and other Florida
citizens is repugnant to`the public welfare and offends the long-standing public policy of
this State to protect innocent consumers from predatory, abusive and fraudulent
collection practices.

30. Plaintiff has no adequate remedy at law.

3 l . The Defendant denies that it is in violation of the aforesaid statutes.

32. Plaintiff is uncertain as to Plaintif`t’s rights under the FCCPA. Plaintiif` seeks the Court
to exercise its statutory and/or equitablejurisdiction to declare the rights of the parties
under the statute.

33. The Defendant has or will continue the aforesaid unlawful conduct now and into the
future unless declaratory relief issues declaring the conduct unlawful.

34. 'Ihe FCCPA and Chapter 86, The Declaratory judgment Act empowers and confers
upon this Court the necessary and statutory jurisdiction and authority to “declare" the
rights of the parties under the FCCPA.

35. P|aintiff hereby invokes the Court’s equitable jurisdiction under the F.CCPA to declare
the following as violations of the FCCPA, willfully repeated “robo-calls” or other
multiple calls to consumers in a single day;

l 36. Plaintiff was forced to retain undersigned counsel and has' or will incur substantial

 

 

Case 2:14-cv-00019-SPC-CI\/| Dnmrmpnr 9 r=ilprr 01/11:/1_/! page 5 er 7 _D

attomey’s fees, legal assistant fees and costs.

»

37. Plaintiff, as a prevailing party, is entitled to an award of attomey’s fees, legal assistant

fees and costs of this action, pursuant to the provisions of the FCCPA.

COUNT IV
Violations Under the TCPA

 

38. This is a cause of action against Defendant for its violation of the TCPA.

39.

40.

41.

42.

43.

44.

Plaintiff restates (l) through (37) above, as if fully set forth herein.

At all times material hereto, the Defendant was a "person” within the meaning of 47
U.S.C. §227.

That after the commencement of this action, Defendant willfully violated the provisions
of the TCPA by communicating with the consumer by using an automatic telephone
dialing system to contact the Plaintiff or an artificial or prerecorded voice to deliver a
message and called Plaintiff on a cellular telephone, in violation of 47 U.S.C. §227.

As a legal and proximate cause of the aforesaid misconduct and violations, Plaintiff has
suffered actual damages and is entitled to statutory damages

Plaintiff was forced to retain undersigned counsel and has or .will incur attomey’s fees,
legal assistant fees and costs. Counsel has been retained on a contingency basis, and
P|aintiff seeks a contingency risk multiplier.

Plaintiff is entitled to an award of attorneys’ fees, legal assistant fees and costs of this
action, pursuant to the provisions of the TCl’A.

WHEREFORE, Plaintiff, MICHAEL SPBIDEL, demands actual and statutory damages,

attomey’s fees, legal assistant fees, costs a'nd prejudgment interest on all damages where

such interest is allowable by law and such other and further relief `as may be mete and proper.

DEMAND FOR JUR¥ TRIAL

 

 

Case 2:14-cV-00019-SPC-CI\/| Document 2 Filed 01/15/14 Paoe 7 of 7 PagPlD 23

45. Plainti ff hereby requests ajury trial on all issues so triab|e.
WHEREFORE, Plaintiff, M|CHAEL SPElDEL, prays for declaratory relief, attomey’s
fees, legal assistant fees, costs, prejudgment interest on all damages where such interest is
allowable by law and such other and further relief as may be mete and proper.

oaer this ii day oro¢c¢mb¢r, 2013.

VILES & BECKMAN, LLC
Attomeys for Plaintiff

6350 Presidential Court

Suite A

Fort Myers, Florida 33919
Telephone: 239-334-3933
Facsimile: 239-334-7105

By:/s/ Marcus Viles, Esg. :_
Marcus W. Viles, Esquire

Florida Bar Number: 0516971

 

